
Tukley, J.
delivered the opinion of the court.
In this case, the cause assigned for a reversal, is, also, that dying declarations were received illegally against the prisoner.
Having entered so fully into the doctrine upon this subject, in the case of Smith vs. The State, we have deemed it unnecessary ágain to do it here. In that case we held, that the declarations received were not dying declarations, and ought not, therefore, to have been received. In the present case we have arrived at a different conclusion, for reasons which we will assign.
The wounds, of which the deceased died, are proven by the attending physician to have been mortal, and of a very painful character: he died within forty-eight hours after their reception. It appears that he was a Catholic, and that a priest had been with him before he made the declarations complained of, no doubt for the purpose of administering extreme unction: it cannot be supposed that the deceased was not informed and fully aware of the nature of his wounds, and of the opinion of the doctor that they were mortal;-he told the witness that he must die and that he forgave his murderer. We are well satisfied, not only that the deceased was in articulo mortis, but that he was fully *26conscious that be was so, and tbat he had no hopes of life, but was certain of his almost immediate death. We therefore think, that the judge of the criminal court committed no error in receiving the declarations of the deceased.
Some other points have been mooted, but not seriously-pressed in the case: we think there is nothing in them and .that they need no discussion by the court.
Let the judgment be affirmed.
